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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


    MARGARITO V. CANALES and
    BENJAMIN J. BARDZIK,

                              Plaintiffs,                       Civil Action No. 1:21-cv-40065
    v.
                                                                LEAVE TO FILE GRANTED ON
    LEPAGE BAKERIES PARK STREET LLC,
                                                                        10/05/2021
    CK SALES CO., LLC, and FLOWERS
    FOODS, INC.,

                              Defendants.


         DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO SUPPLEMENT
             RECORD AND PLAINTIFFS’ SUPPLEMENTAL AFFIDAVITS

           Plaintiffs mischaracterize the holding in Waithaka v. Amazon.com, Inc., 966 F.3d 10 (1st

Cir. 2020), and argue that Bissonnette v. Lepage Bakeries Park St., LLC, 460 F.Supp.3d 191

(D.Conn. 2020), 1 is somehow at odds with Waithaka, supra – it is not. To the contrary,

Bissonnette is entirely consistent with Waithaka. In Bissonnette, the court fully appreciated the

need to consider the nature of the business as the First Circuit similarly held in Waithaka:

“Consideration of the nature of the hiring company’s business carries out the Supreme Court’s

instruction that we must construe the residual clause of Section 1 consistently with the specific

preceding categories of workers – ‘seamen’ and ‘railroad employees’—whose employment

contracts are exempt from the FAA”. Waithaka, supra at 23, citing Circuit City Stores, Inc. v.

Adams, 532 U.S. 105, 114-115, 121 S.Ct. 1302 (2001). In Bissonnette, the court noted that it

“does not take issue with” Waithaka or with the general proposition that a delivery driver

responsible for transporting goods that have traveled interstate may well be a “transportation



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    The Defendants in Bissonnette and this case are the same.


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worker” for purposes of the FAA. Bissonnette, supra at 199. Rather, consistent with both the

Bissonnette record and the facts to which Canales and Bardzik have themselves referenced in their

business plans, “Defendants…argue persuasively that Plaintiffs are “more akin to sales workers or

managers who are generally responsible for all aspects of a bakery products distribution business”

than they are to “traditional transportation workers like a long-haul trucker, railroad worker or

seaman.” Id. Based on the undisputed facts, Plaintiffs certainly are not merely delivery drivers.

         Plaintiffs argue that this Court should ignore Bissonnette even though Bissonnette is

directly on point. Plaintiffs argue that in place of Bissonnette, this Court should develop a record

from cases that, except for one, do not involve Defendants Lepage Bakeries or CK Sales, but

perhaps even more importantly, do not deal, either directly or indirectly, with whether the

applicable arbitration agreements are enforceable and whether distributors are “transportation

workers” for the purposes of the FAA’s Section 1 exemption. Plaintiffs’ cited cases do not

consider the FAA at all. See Rehberg v. Flowers Baking Co. of Jamestown, LLC, 162 F. Supp.

3d 490, 501-03 (W.D.N.C. 2016)(decision on motion for summary judgment); Coyle v. Flowers

Foods Inc., No. CV-15-01372-PHX-DLR, 2016 U.S. Dist. LEXIS 116422, at *3-4 (D. Ariz.

Aug. 29, 2016)(decision on motion for summary judgment); McCurley v. Flowers Foods, Inc.,

No. 5:16-CV-00194-JMC, 2016 U.S. Dist. LEXIS 146739, 2016 WL 6155740 (D.S.C. Oct. 24,

2016)(decision on Motion for Conditional Certification); Medrano v. Flowers Foods, Inc., No.

16-350 JCH/KK, 2017 U.S. Dist. LEXIS 102812 (D.N.M. July 3, 2017) (decision on Motion for

Conditional Certification); Zapata v. Flowers Foods Inc., No. 4:16-CV-676, 2016 U.S. Dist.

LEXIS 189279 (S.D. Tex. Dec. 20, 2016)(decision on Motion for Conditional Certification); Neff




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v. Flowers Foods, Inc., No. 5:15-cv-254, 2019 U.S. Dist. LEXIS 238105 (D. Vt. May 16,

2019)(decision on Motion for Decertification). 2

         In their supplemental affidavits, Plaintiffs now claim they were primarily drivers and

nothing more, transporting baked goods in a manner akin to the Amazon delivery drivers described

in Waithaka. The business plans Plaintiffs developed on their own and which they ignore in both

their opposition and supplemental filing, make clear in their own words that Plaintiffs are not

primarily drivers. Set forth below in Plaintiffs’ own words are the activities in which they

acknowledge engaging as part of operating their business:

         2. Operational Strategy

         Based on the proforma for the Amesbury Route, it looks that it can be profitable
         and have a positive cash flow. We have some accounts that we haven't got in yet
         but are looking forward to purchasing the route and getting into those stores. They
         include a market that sells only organics and some cash accounts around the area.
         The manager of our district John Will , has talked to us and assured us he will help us
         get into the Organic market in the area plus more.

         Our key customers in the Amesbury route include Market Basket Newburyport,
         Market Basket Rowley, stop and shop Newburyport, and Shaws plus a store called
         Vermittes. With my experience in Market Basket for 12 years, I know the
         management in the Market Baskets and I will work with them closely to assure
         they're getting serviced to the full extent of our business allows. Also, me and Ben
         will work with our employee to make sure the right product gets ordered, special
         items get set up for the weekend, and of course, have plenty of buns for the hot and
         beautiful summer days. We will service each account 5 days a week, and of course,
         me and my business partner will rotate our days off to service the stores with
         backstock on the days that we don't service. We will start early in the morning around
         2am-3am, to assure we get to the first stop in time, and have enough time in between
         to service all the accounts on time and on schedule.

         We have a part time employee ready to make the jump to running the Amesbury
         route. He will work 5 days a week, and me and Ben will rotate each week to work
         Wednesday and Sundays.


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  Plaintiffs also incorrectly cite to Harper v. Amazon Services, Inc., 2021 WL 4075350 (3d Cir.) for the proposition
that their allegations result in Massachusetts law somehow supplanting or preempting application of the FAA. It does
not. Such a holding would in effect preclude arbitrating virtually any employment matter under the FAA, a result
entirely inconsistent with the courts’ interpretation of the FAA. Id., at *3.

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         Our Mission Statement is the following: T&B Dough Boys Inc will service the
         customer to the fullest and make sure the customer is 100 percent satisfied and
         serviced .

Plaintiffs’ 2019 Business Plan, Attachment to Linthicum Declaration [ECF 10-5].

                                      Operational Strategy

               Based on the performance of 7974, it will be our biggest territory when it
         comes to area, profit, and sales projections. 7974 encompasses parts of Stoneham,
         Woburn, and Wakefield as well as all of Reading. This is a densely populated area
         along the 1-95/Route 128 corridor. The financial demographics of the area range
         from lower income to higher income. Reading in particular is a higher income area,
         and Stoneham and Wakefield have pockets of upper level income areas. The anchor
         stores on this route are the Market Baskets in Woburn and Reading. These accounts
         will be serviced daily. In addition, the route contains two Stop n Shops, a Shaw's,
         a BJ's Wholesale Outlet, and a Burger King. We will be pushing all of our brands
         of bread. We will promote regional brands such as Country Kitchen as well as
         national brands such as Wonder, Nature's Own, and Dave's Killer Bread. Specialty
         brands such as Canyon Bakehouse will be featured as well.

               The president and vice president of T&B Dough Boys Inc as well as the route
         runner will be going to ALL of the accounts to make the proper introductions. This
         will be the 5th time that we will be doing this. We will be talking to managers,
         bread employees, and supervisors to give our assurances that their store will be
         serviced daily. We will go into details about our experiences and how plan to use
         our knowledge to improve the sales for these stores. The two anchor stores are high
         customer volume Market Baskets and should be able to generate much greater sales
         numbers than they have shown recently. We feel our methods will be able to raise
         these numbers.

Plaintiffs’ Business Plan 2020, Attachment to Linthicum Declaration [ECF 10-6].

         In light of Plaintiffs’ prior statements in their business plans, the Court should give their

supplemental affidavits short shrift if any weight. They contradict their prior statements and

moreover, the affidavits themselves are internally inconsistent. As but one example, Canales now

claims that on average he devoted 60-70 hours a week performing his job as a distributor, and of

that time, he drove 50 hours a week, and spent another 20-30 hours supervising their other

employees who were tasked with distributing and merchandising product in the fourth territory.

The numbers simply do not add up. Conveniently, nowhere in the above description of how they

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spend their weeks do Canales and Bardzik account for the entrepreneurial activities they perform

as acknowledged in their own written business plans.

         As consistently indicated in Plaintiffs’ business plans, the Distributor Agreement (See ECF

Documents 10-3, 10-4 and 10-6) Mr. Linthicum’s Declaration [ECF10-1], Plaintiffs and their

employees must devote significant time in the stores, to place orders, sell, merchandise, and

remove out of code product. It is clear from Mr. Linthicum’s Declaration and Plaintiffs’ own

business plans that less than half of their time is devoted to driving and that the driving is incidental

to all of their other responsibilities owning and operating a business that included four territories

and multiple employees. The mere fact that a worker is responsible for delivering goods does not

defeat “compelling evidence that the worker performs myriad other non-transportation related

functions that fundamentally transform the nature of the job description.” Bissonnette, at 200.

“The Court is doubtful that Plaintiffs’ role as distributor franchisees is sufficiently analogous to

that of early 20th century railroad workers or seamen to warrant a finding that Congress would

have envisioned the FAA exception embracing such workers.” Id.

                                           CONCLUSION

         For the reasons set forth herein as well as in Defendants’ Memorandum of Law in Support

of Defendants’ Motion to Dismiss or, in the Alternative, to Compel Arbitration, Defendants

respectfully request that the Court dismiss this lawsuit and/or stay it and compel Plaintiffs to

arbitrate their claims pursuant to the Arbitration Agreements they signed.




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Dated: October 5, 2021                                Respectfully submitted,

                                                      Lepage Bakeries Park Street, LLC, CK Sales
                                                      Co., LLC and Flowers Foods, Inc.,

                                                      By their attorneys,



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                                 CERTIFICATE OF SERVICE

       I, Frederick B. Finberg, hereby certify that on October 5, 2021, I filed the foregoing via the
Court’s CM/ECF system. The CM/ECF system will provide service of such filing(s) via Notice of
Electronic Filing (NEF) to all counsel of record.



                                                       /s/ Frederick B Finberg
                                                      Frederick B. Finberg




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